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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

BDD GROUP, LLC.,
                                            Case No.
      Plaintiff,                            Hon.

v.

CRAVE FRANCHISING, LLC,
SAMANTHA RINCIONE, and
SALAVATORE RINCIONE

      Defendants.

_________________________________________________________________/
 Kassem M. Dakhlallah (P70842)
 Kassem H. Amine (P86440)
 Basem M. Younis (P85962)
 Attorneys for Plaintiff
 HAMMOUD, DAKHLALLAH &
 ASSOCIATES, PLLC
 6050 Greenfield Rd., Ste 201
 Dearborn, MI 48126
 Ph.: (313) 551-3038
 kd@hdalawgroup.com
 by@hdalawgroup.com
 ka@hdalawgroup.com
__________________________________________________________________/

            There is no other pending or resolved civil action arising out of
               the transaction or occurrence alleged in this complaint.

                    COMPLAINT AND JURY DEMAND


     NOW COMES, Plaintiff, BDD GROUP, LCC, by and through its attorneys,

HAMMOUD, DAKHLALLAH, & ASSOCIATES, and for its Complaint against



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Defendants, CRAVE FRANCHISING, LLC, SAMANTHA RINCIONE, and

SALVATORE RINCIONE, hereby states as follows:

                          PARTIES & JURISDICTION

1. Plaintiff, BDD Group LLC, (“BDD”) is a Michigan limited liability

   company, that does business in Wayne County, Michigan.

2. Defendant, Crave Franchising, LLC (“Crave Franchising”) is a Wyoming limited

   liability company, that does business Wayne County, Michigan.

3. Defendant, Samantha Rincione (“Samantha”) is an individual who resides in the

   State of New York and is a founder and Chief Executive Officer of Crave

   Franchising.

4. Defendant, Salvatore Rincione (“Salvatore”) is an individual who resides in the

   State of New York and is a founder and the president of Crave Franchising.

5. This Court has personal jurisdiction over Defendant Crave Franchising pursuant

   to the Federal Rules of Civil Procedure (FRCP) 4(k)(1)(A) and MCL 600.721 as

   Crave Franchising carries on a continuous and systematic part of its general

   business within the State of Michigan. This Court also has personal jurisdiction

   over Defendant Crave Franchising pursuant to the Federal Rules of Civil

   Procedure (FRCP) 4(k)(1)(A) and MCL 600.725 as Crave Franchising transacts

   for business within the State of Michigan, has committed or caused an act to be

   done, or consequences to occur, resulting in an action for tort within the State of



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   Michigan, and has entered into a contract for services to be performed or for

   material to be furnished in the State of Michigan, all of which give rise to the

   claims in this Complaint.

6. This Court has personal jurisdiction over Defendants Salvatore and Samantha

   pursuant to the Federal Rules of Civil Procedure (FRCP) 4(k)(1)(A) and MCL

   600.705 as Salvatore and Samantha transacted for business within the State of

   Michigan and have committed or caused an act to be done, or consequences to

   occur, resulting in an action for tort within the State of Michigan.

7. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C

   § 1331 as this case involves questions of federal law.

8. This Court has supplemental jurisdiction over the related state law claims

   pursuant to 28 U.S.C § 1367(a) because those claims form part of the same case

   or controversy under Article III of the United States Constitution. Plaintiff’s state

   law claims share the same operative facts with Plaintiff’s federal law claims, and

   the parties are identical. Resoling Plaintiff’s federal and state claims in a single

   action serves the interest of judicial economy, convenience, consistency, and

   fairness to the parties.

9. This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C §1332,

   as the matter in controversy exceeds the sum or value of $75,000, exclusive of

   interest and costs, and is between citizen of different states.



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10. Venue is properly laid in this Court pursuant to 28 U.S.C §1391, as a substantial

   part of the events or omissions giving rise to the claims in this cased occurred in

   this judicial district, and the property that is the subject of the action is situated

   in this judicial district.

                                FACTUAL ALLEGATIONS

11. Plaintiff restates and incorporates by reference the allegations in the preceding

   paragraphs as though fully set forth here.

12. Defendant Crave Franchising is a restaurant and food truck franchisor that sells

   hot dogs, grilled barbeque items, and other related foods and drinks.

13. According to Crave Franchising’s website, “iwantcrave.com”, Crave Franchising

   is the franchisor of over 25 locations nationwide.

14. In 2020, BDD, throughout its owners, Brad Fuchs (“Brad”) and Darrell Olds

   (“Darrell”) reached out to Crave Franchising to inquire about potentially opening

   a Crave restaurant in Michigan.

15. On September 7, 2020, the founder, president, and Chief Development Officer of

   Crave Franchising, Salvatore Rincione (“Salvatore”), responded to BDD’s

   inquiry and provided BDD with a Franchise Disclosure Document, dated April

   6, 2020 (“FDD”). Ex. A – Email from Salvatore; Ex. B – FDD.

16. Notably, in his email to BDD, Salvatore described the investment into a Crave

   restaurant as an “amazing low-cost opportunity.” Ex. A



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17. Moreover, in its FDD, Crave Franchising made several representations to BDD

   in order to induce BDD to enter into a franchise agreement.

18. Among several other representations, in its FDD, Crave Franchising represented

   that the “total investment necessary to begin operations of a Crave restaurant

   franchise is $220,400 to $582,000” (“Total Investment Representation”). Ex. B

19. The Total Investment Representation included the funds necessary “to cover

   ongoing expenses for the start-up phase of the business, which calculate to be

   three months.” Ex. B, pp. 17.

20. To further induce BDD to enter into the franchise agreement, in its FDD, Crave

   Franchising also represented that the Total Investment Representation assumes

   “[t]hat you will purchase the required items” and that “[y]our costs may be

   lower if you choose to lease some items.” Ex. B, pp. 15.

21. This representation was intentionally made to lead BDD to believe that the Total

   Investment Representation could be less than the amount stated.

22. In order to further induce BDD to rely on Total Investment Representation, in its

   FDD, Crave Franchising also represented that it “relied upon our (Crave

   Franchising) principals’ experience in operating restaurants and food trucks when

   preparing these figures.”

23. Moreover, as part of the Total Investment Representation, Crave Franchising also

   represented to BDD that the estimated costs of leasehold improvements would



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   be “$50,000 to $275,000” (“Leasehold Improvements Representation”). Ex. B,

   pp. 13.

24. With regards to the Leasehold Improvement Representation, in its FDD, Crave

   Franchising represented that the “high end of our estimate ($275,000) assumes

   that you have leased a ‘vanilla box’ space and that more improvements are

   required.” Ex. B, pp. 15.

25. In its FDD, Crave Franchising also represented that “the time from the signing of

   the Franchise Agreement to the opening of the Restaurant will be approximately

   four to eight months.” Ex. B, pp. 28

26. Moreover, on December 7, 2020, Salvatore provided BDD with a personalized

   estimate of the total cost of investment in a Crave restaurant in the amount of

   $549,663.64 (“Personalized Total Investment Representation”). Ex. C –

   Personalized Total Investment Representation.

27. Notably, the Personalized Total Representation of $549,663.64, was significantly

   lower than the high-end of the Total Investment Representation provided in the

   FDD—further leading BDD to reasonably believe that the Total Investment

   Representation would be accurate.

28. Moreover, as part of the Personalized Total Investment Representation, Salvatore

   represented that BDD would need to obtain a loan in the amount of $509,663.64

   to fund the investment. Ex. C



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29. Salvatore also provided BDD with a pro forma, which included revenue

   projections for the first five years of operations. Ex. D – Pro Forma.

30. BDD reasonably believed and relied on the fact that the above representations

   would be correct.

31. In reliance on the above representation made, BDD executed and entered into a

   franchise agreement with Crave Franchising on December 7, 2020 (“Franchise

   Agreement”). Ex. E - Franchise Agreement.

32. Unfortunately, Defendants’ various representations, including its Total

   Investment Representation, turned out to be fraudulent and intentionally

   inaccurate.

33. Specifically, BDD was forced to invest over $1,300,000.00 dollars to open the

   Crave restaurant—almost triple the amount Crave Franchising had represented.

34. Importantly, had the Total Investment Representation been higher than what

   Defendants stated that it would be, i.e., more than $582,000, BDD would not

   have entered into the Franchise Agreement as it would not have made economic

   sense to enter into a franchise agreement with a higher investment amount in light

   of Crave Franchising’s revenue projections—Defendants knew this.

35. Nonetheless, after executing the Franchise Agreement and while still believing

   and relying on the Total Investment Representation, BDD selected a potential




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   location for it crave restaurant, which is located a 5800 North Sheldon Road,

   Canton, Michigan 48187 (“Crave Canton Restaurant”).

36. After BDD provided Defendants with full designs and layout plans for the Crave

   Canton Location, Crave Franchising approved the location.

37. Accordingly, on August 7, 2021, and pursuant to its reliance on Defendants’ four-

   to-eight-month timeline until opening, BDD entered into a lease with the landlord

   of that location, HSQ, LLC (“HSQ”).

38. Furthermore, in designing and planning the build out of the location, BDD fully

   complied with Defendants’ requirements regarding, fixtures, furnishings,

   equipment, décor items, signs, and other related items.

39. BDD also sourced said items from vendors and suppliers expressly authorized

   and recommended by Defendants.

40. Given that BDD followed Crave Franchising’s instructions and requirements to

   a tee, it reasonably and fully expected that the Total Investment Representation

   would be accurate.

41. In fact, Crave Franchising also required BDD to utilize one of Crave

   Franchising’s permitted general contractors, Provost Construction (“Provost”)

   for the required leasehold improvements.




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42. However, in its FDD, Crave Franchising simply states that Crave Franchising

   “must approve the contractor you wish to use in the build-out of your restaurant.”

   Ex. B – FDD, pp.15

43. In other words, in its FDD, Crave Franchising did not state that Provost was a

   required contractor or services provider.

44. Nevertheless, given that given that Provost was a general contractor explicitly

   authorized and permitted by Crave Franchising, BDD justifiably relied on the

   fact that Leasehold Improvement Representation would be accurate.

45. However, to BDD’s utter shock, the actual cost of the leasehold improvements in

   order to meet Defendants’ specifications and requirements turned out to be

   almost triple the amount of Crave Franchising’s Leasehold Improvement

   Representation.

46. Specifically, BDD was forced to pay Provost over $710,000.00 for leasehold

   improvements as opposed to the “$50,000 to $275,000” as provided in the

   Leasehold Improvement Representation.

47. Moreover, the construction timeline provided by Provost turned out to be wholly

   inaccurate.

48. According to Provost, the build out of the Crave Canton Restaurant was to be

   completed by October of 2022, in direct contradiction to Crave Franchising’s

   four-to-eight-month timeline.



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49. However, the actual completion date of construction was in February of 2023.

50. As such, not only was BDD forced to use the extremely over-priced Provost, but

   it was also forced to suffer significant delays in the opening of the Crave Canton

   Restaurant.

51. Upon information and belief, Defendants forced BDD to use Provost as the

   general contractor because Crave Franchising received kickbacks, commission

   and/or some form of material consideration from Provost for work that

   Defendants brought to or referred to Provost.

52. This becomes evidence since Provost is a construction company located and

   headquartered in the state of Connecticut.

53. As such, BDD was required to pay for the living expenses of Provost employees

   and agents, including over a year’s worth of hotel fees, while Provost performed

   worked on BDD’s Crave Canton Restaurant in Michigan.

54. This expense was needless and inappropriate, as there were many capable,

   competent, and available general contractors in the State of Michigan who could

   have performed the required work at a significantly lower price.

55. Despite having knowledge of these needless and added expenses, Defendants still

   forced BDD to utilize Provost.




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56. Moreover, and as mentioned above, on December 7, 2020, Defendant Salvatore

   initially represented that BDD would need to take a loan of $509,663.64 (minus

   tenant improvements), in order to completely finance the investment. Ex. C

57. Again, BDD heavily relied on this loan estimate when deciding to enter into the

   Franchise Agreement.

58. Indeed, BDD was ultimately approved for a $575,000 Small Business

   Administration (SBA) loan from Meridian Bank, which it obtained.

59. However, after executing the Franchise Agreement, Defendants began to

   routinely increase the requested loan amount that BDD needed to obtain to fund

   the investment.

60. Namely, on August 19, 2021, Crave Franchising, through Salvatore, told BDD

   that it actually needed to obtain a loan in the amount of $725,320.60. Ex. F –

   August 19, 2021, Loan Increase.

61. On November 4, 2021, Salvatore again increased the needed loan amount to

   $1,043,568.44. Ex. G – November 4, 2021 Loan Increase

62. Incredibly, on August 3, 2022, Salvatore thereafter increased the loan amount

   once more to $1,210,658.55. Ex. H – August 3, 2022 Loan Increase

63. As a result, following execution the execution of the Franchise Agreement, BDD

   was forced to obtain a second SBA loan of $455,000.00, which it had not




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   anticipated due to its reliance on Crave Franchising’s Total Investment

   Representation.

64. In order to secure the unanticipated loans, Brad, Brad’s Wife (Pamela Fuchs),

   Darrell, and Darrell’s wife (Shelby Olds) were all forced to execute personal

   guarantees.

65. Brad and Darrell were also forced to execute mortgages on each of their

   respective homes to use as collateral for unanticipated loans.

66. In addition to being compelled to use their homes as collateral in order to secure

   the unanticipated loans, Brad and Darrell were also forced to obtain two separate

   personal loans totaling $100,000.

67. Namely, Brad obtained a personal loan of $25,000 and Darrell obtained a

   personal of $75,000, in order to meet the actual total investment amount needed.

68. Unfortunately, the delays caused by Provost and the unanticipated process of

   having to obtain the unexpected loans caused significant delays in the timeline

   for the opening of the Crave Canton Restaurant.

69. Specifically, the Crave Canton Restaurant did not open its doors until February

   2023, despite the fact that Crave Franchising represented that the “time from the

   signing of the Franchise Agreement to the opening of the Restaurant will be

   approximately four to eight months.” Ex. B, pp. 28.




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70. Because BDD executed the Franchise Agreement on December 7, 2020, it

   expected to open its doors sometime in September of 2021—at the latest—per

   the timeline representation made in the FDD.

71. As a direct result of the delays caused by Defendants fraudulent representations,

   BDD was forced to pay over $7,000 in monthly rent to HSQ for an inoperable

   location for almost two years while it waited for Meridian Bank to issue the

   unanticipated loans and for Provost to complete construction—again which were

   a direct result of Defendants’ initial fraudulent investment representation and

   forced selection of Provost.

72. Unfortunately, after finally opening the Crave Canton Restaurant in February of

   2023, BDD achieved little to no profits due to the suffocating debt it was forced

   to incur, as a significant amount of the revenue generated is being used to pay off

   the unexpected loans.

73. Moreover, as a result of the suffocating debt, BDD has been unable to make

   several required expenses, including required foods purchases and rent payments

   to HSQ.

74. In fact, BDD is currently in default on its lease with HSQ.

75. Crave Franchising is well aware of BDD’s outstanding rent obligations, as BDD

   and Defendants have been in constant communications regarding the developing

   situation.



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76. Unfortunately, instead of assisting BDD with resolving its issues with HSQ,

   Defendants intentionally worsened the situation.

77. Specifically, after extensive talks regarding the outstanding rent obligations,

   Crave Franchising, through its Chief Executive Officer, Samantha Rincione

   (“Samantha”), told BDD that it would directly reach out to the HSQ in hopes to

   negotiate a resolution on BDD’s behalf.

78. Having no reason to believe that Defendants would not act in its best interest,

   BDD accepted and relied on Defendants’ proposal.

79. Thereafter, on multiple occasions, BDD reached out to Crave Franchising,

   Samantha, and Salvatore, in order see whether any progress had been made

   regarding the rent.

80. For several weeks, Defendants told BDD that it had reached out to HSQ regarding

   the rent situation and provided BDD with “updates” regarding the same.

81. However, it was later discovered that Crave Franchising did not have any

   communications with the HSQ and that the “updates” provided to BDD were

   utter fabrications.

82. Indeed, HSQ confirmed that it did not receive any communications from Crave

   Franchising, Samantha, or Salvatore.




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83. When BDD confronted Crave Franchising about their fabricated updates,

   Salvatore apologized to BDD for failing to communicate with HSQ but indicated

   that its failure to do so was simply a “mistake.”

84. Unfortunately, because BDD relied on Defendants’ promise to reach out to HSQ,

   it never reached out to HSQ itself.

85. As a direct result of BDD’s reliance on Defendats’ attention to the matter, and

   Crave Franchising’s subsequent inaction, on November 30, 2023, HSQ issued a

   notice of default to BDD, wherein it requested that BDD pay $18,039.55 in

   overdue rent to HSQ within 10 days, in order to avoid eviction. Ex. I – November

   30, 2023 Landlord Notice

86. Moreover, on December 27, 2023, HSQ served Plaintiff with a demand for

   possession for non-payment of rent. Ex. J – December 27, 2023, Demand for

   Possession

87. Again, due to the unanticipated debt that it was forced to incur, BDD is simply

   unable to make any payments to HSQ.

88. Additionally, in October of 2023, during communications regarding BDD’s

   financial struggles due to the large loan payments, Crave Franchising offered to

   pause royalty payments for two months in order to financially assist BDD. Ex. K

   – Email from Crave Franchising.

89. The pause was supposed to encompass the months of November and December.



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90. BDD accepted said offer.

91. However, thereafter Crave Franchising unjustifiably broke its promise of the two-

   month royalty payments pause, by charging BDD royalty fees for the month of

   December.

92. This incident merely underscores Crave Franchising’s deceptive and

   untrustworthy business practices.

93. Defendants made several other fraudulent and deceptive representations to BDD.

94. Namely, while performing Crave Franchising’s required training program, BDD

   were introduced to Crave Franchising’s Director of Franchise Support &

   Training, Mona Jones.

95. During that training program, Mona Jones indicated to BDD that she previously

   bought an already existing Crave restaurant from a different franchisee but was

   forced to subsequently close it down because she didn’t have enough time to

   dedicate to the store.

96. However, documents provided by Crave Franchising list Mona as an original

   franchisee of Crave Franchising, despite the fact that she never was, per her own

   admission.

97. Again, this incident further highlight’s Crave Franchising’s deceptive and

   untrustworthy business practices.




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98. Additionally, it has been discovered that an unusually large number of Crave

   Franchising’s franchisees have opened and subsequently closed down in a

   remarkably short period of time—the exact predicament BDD faces.

99. Upon information and belief, those other franchisees were similarly defrauded by

   Crave Franchising’s deceptive and fraudulent representations.

100. Upon information and belief, a Crave restaurant in Charleston, South Carolina

   recently closed down after opening up only a few months prior:




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101. Furthermore, on its website Crave Franchising currently deceptively

   represents that this Charleston, South Carolina Crave restaurant is “coming

   soon”, instead of truthfully representing that the restaurant was recently closed,

   https://iwantcrave.com/locations/south-carolina/:




102. Similarly, a Crave restaurant in Ocala, Florida recently closed down after

   opening     its   doors     in    August      of    2023,     https://www.ocala-

   news.com/2023/12/19/ocala-hot-dog-spot-closed-less-than-4-months-after-

   opening/:




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103. And again, instead of noting that the Ocala, Florida Restaurant was recently

   closed down, Crave Franchising represents that this the restaurant is “coming

   soon”, https://iwantcrave.com/locations/florida/:

104. A Crave restaurant in Concord, North Carolina also recently closed down after

   only being open for a short while. On its website, Crave Franchising also

   inaccurately   represents    that   this    restaurant   is   “coming   soon”,

   https://iwantcrave.com/locations/northcarolina/:




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105. Astonishingly, a Crave restaurant in Raleigh, North Carolina also recently

   closed its door after it was only open for only a short while. On its website, Crave


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   Franchising again inaccurately represents that this restaurant is “coming soon”,

   https://iwantcrave.com/locations/northcarolina/:




106. Moreover, in a news article published in September of 2023, which includes

   direct statements and comments made by Defendant Samantha Rincione, it is

   stated that the total investment needed to open a Crave restaurant is “half a




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   million dollars”, https://www.mashed.com/1402502/what-is-crave-hot-

   dogs-bbq/.

107. That same article also incorrectly states that there is “over 50 brick-and-mortar

   restaurants    and    around    20    food   trucks    currently    in   business”,

   https://www.mashed.com/1402502/what-is-crave-hot-dogs-bbq/.

108. Upon information and belief, Defendant Samantha and Defendant Salvatore

   are directly responsible for the making of the fraudulent and inaccurate

   statements made in the “mashed.com” news article.

109. Similarly, in another news article published in March of 2023, which is linked

   to Crave Franchising’s official website, it is represented that the total investment

   needed    to   open    a   Crave     restaurant   is   “$190,400    -    $512,500”,

   https://www.profitableventure.com/franchise/hot-dog-opportunities/;

   https://iwantcrave.com/articles/.

110. Importantly, Defendants prohibit the disclosure of their fraudulent practices

   by prohibiting former franchisees from speaking about their experiences with

   Crave Franchising.

111. For example, pursuant to the Franchise Agreement, former franchisees are

   prevented from doing or performing, directly or indirectly, “any other act

   injurious or prejudicial to the goodwill associated with the Marks and the

   System.” Ex. D – Franchise Agreement, §10.3.2(a).



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112. Moreover, former franchisees of Crave Franchising are expressly prohibited

   from directly or indirectly representing to the public that they are former

   franchisees of Crave Franchising. Ex. D – Franchise Agreement, §18.1.

113. Indeed, in 2022, in response to a question from BDD regarding a former

   franchisee who had recently filed for bankruptcy, Mona Jones expressly told

   BDD that she was not allowed to speak on the matter.

114. Similarly, Crave Franchising sent out an email to its franchisees, including

   BDD, wherein it instructed their franchisees to ignore any message or

   communication from a disgruntled former franchisee and to not contact him. Ex.

   L – Corporate Email Regarding Former Franchisee

115. Moreover, as it does on their website, Crave Franchising also purposely

   misrepresents and decreases the number of franchisees who have closed down

   and/or transferred their stores on its FDD, in order to induce potential franchisees

   to enter into Franchise Agreements by making an investment in Crave

   Franchising to appear more appealing than it is.

116. Specifically, in the Franchise Disclosure Document provided to Plaintiff,

   dated April 6, 2020, Crave Franchising represented that were two franchisees

   who left the system:




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Ex. A – Franchise Disclosure Document, Exhibit D, pp. 2-3.

117. However, in a subsequent Franchise Disclosure Document, dated March 30,

   2021, and in contradiction to its previous Franchise Disclosure Document, Crave

   Franchising misrepresented that were no franchisees who left the system as of

   March 30, 2021:




Ex. M – March 30, 2021 Franchise Disclosure Document, Exhibit D, pp. 4.

118. Upon information, in their subsequent Franchise Disclosure Document, Crave

   Franchising continues to misrepresent the number of franchisees that have closed


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   down and/or transferred stored in order to fraudulent induce prospective

   franchisees.

119. In sum, and as shown above, Defendants employs several deceitful,

   fraudulent, and unlawful practices to induce franchisees, such as BDD, to enter

   into franchise agreements.

120. As a result of those deceitful, fraudulent, and unlawful practices, BDD has

   suffered immense damages.

           COUNT I –– FRAUDULENT MISREPRESENTATION

121. Plaintiff hereby re-alleges and incorporates all previous paragraphs of this

   Complaint as if fully restated herein.

122. In order to have a claim for fraudulent misrepresentation the Plaintiff must

   prove: 1) the defendant made a material representation; 2) it was false; 3) the

   defendant either knew it was false or made it recklessly without knowledge of its

   truth; 4) the representation was made with the intent that the plaintiff would act

   upon it; and 5) the plaintiff did act, which caused the plaintiff to suffer damages.

   Hi–Way Motor Co. v. Int'l Harvester Co., 398 Mich. 330, 336 (1976).

123. Defendants made many material representations to Plaintiff as an inducement

   to enter into the Franchise Agreement, including, but not limited to,

   representations relating the initial total investment amount, representations

   relating to the timeframe needed to open the restaurant, representations relating



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   to the costs of leasehold improvements, representations relating to the loan

   amount needed to fund the investment, representations regarding a required

   general contractor, and representations relating to the number of former

   franchisees.

124. These material representations were false.

125. Defendants either knew that these representations were false or made it

   recklessly without knowledge of its truth.

126. Defendants made these representations with the intent that Plaintiff would rely

   upon it.

127. Plaintiff did, in fact, act in reliance upon the Defendants’ misrepresentations,

   by entering into the Franchise Agreement.

128. Plaintiff, as a result, suffered damages.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendants, rescinding the Franchise Agreement, for damages in

an amount greater than $75,000.00 plus 12% interest from the date of the entering

of the Franchise Agreement, plus all costs and attorney fees so wrongfully incurred

in having to bring this lawsuit.

                          COUNT II –– SILENT FRAUD

129. Plaintiff hereby re-alleges and incorporates all previous paragraphs of this

   Complaint as if fully restated herein.



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130. “Silent fraud is essentially the same as fraudulent misrepresentation except

   that it is based on a defendant suppressing a material fact that he or she was

   legally    obligated   to   disclose,   rather   than   making    an   affirmative

   misrepresentation.” Alfieri v. Bertorelli, 813 N.W.2d 772 (Mich. Ct. App. 2012).

   To prove silent fraud therefore Plaintiff must show Defendant “suppressed the

   truth with intent to defraud” and that Defendant had a legal or equitable duty of

   disclosure.” Lucas v. Awaad, 830 N.W.2d 141, 152 (Mich. Ct. App. 2013).

131. Defendants suppressed many material facts in order to induce Plaintiff to enter

   into the Franchise Agreement, including, but not limited to, suppressing the

   material fact that Provost Construction was a required general contractor that

   needed to be used to construct the restaurant and suppressing the facts regarding

   its relationship with Provost Construction.

132. Pursuant to MCL § 445.1508(2)(f), a franchisor’s disclosure statement must

   contain:

              A statement as to whether, by the terms of the franchise
              agreement or by other device or practice, the franchisee or
              subfranchisor is required to purchase from the franchisor or
              the franchisor's designee services, supplies, products, fixtures,
              or other goods relating to the establishment or operation of the
              franchise business, together with a description, and the terms
              and conditions thereof.




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133. In other words, Defendants had a legal obligation to state whether Plaintiff

   was required to use Provost Construction as the general contractor and the terms

   and conditions of that relationship.

134. Defendants failed to state the fact that Provost was the required general

   contractor its FDD, nor did it state the terms and conditions thereof.

135. Defendants had an obligation to do so.

136. As a result of Defendants’ actions and omissions, Plaintiff suffered damages.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendants, rescinding the Franchise Agreement, for damages in

an amount greater than $75,000.00 plus 12% interest from the date of the entering

of the Franchise Agreement, plus all costs and attorney fees so wrongfully incurred

in having to bring this lawsuit.

             COUNT III –– INNOCENT MISREPRESENTATION

137. Plaintiff hereby re-alleges and incorporates all previous paragraphs of this

   Complaint as if fully restated herein.

138. The elements of innocent misrepresentation are: (1) a representation in a

   transaction between two parties; (2) that is false; (3) that actually deceives the

   other party; (4) that the other party relied on; (5) that the other party suffered

   damage from; and (6) the party making the misrepresentation benefited from it.

   In re Moiles, 840 NW2d 790 (Mich. Ct. App. 2013)



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139. Defendants falsely represented the initial total investment amount, the

   timeframe needed to open the restaurant, the costs of leasehold improvements,

   the loan amount needed to fund the investment, that there is no required general

   contractor, the number of former franchisees.

140. Plaintiff was deceived by Defendants’ representations.

141. Plaintiff relied upon these representations by the Defendants, by entering into

   the Franchise Agreement.

142. Plaintiff suffered damages as a result.

143. Defendants benefitted from their misrepresentation to Plaintiff.

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendants, rescinding the Franchise Agreement, for damages in

an amount greater than $75,000.00 plus 12% interest from the date of the entering

of the Franchise Agreement, plus all costs and attorney fees so wrongfully incurred

in having to bring this lawsuit.

 COUNT IV –– VIOLATION OF MICHIGAN’S FRANCHISE INVESTOR
                  LAW (MCL 445.1401 et seq.)

144. Plaintiff hereby re-alleges and incorporates all previous paragraphs of this

   Complaint as if fully restated herein.

145. Plaintiff is a “franchisee” within the meaning of MCL 445.1502(4).

146. Defendant Crave Franchising is a “franchisor” within the meaning of MCL

   445.1502(5).

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147. Furthermore, pursuant to section 445.1532, the executives and officers of the

   franchisors who control the franchisor are also liable under Michigan’s Franchise

   Investor Law:

             A person who directly or indirectly controls a person liable
             under this act, a partner in a firm so liable, a principal
             executive officer or director of a corporation so liable, a
             person occupying a similar status or performing similar
             functions, an employee of a person so liable who materially
             aids in the act or transaction constituting the violation, is also
             liable jointly and severally with and to the same extent as the
             person...

148. Given that Defendants Salvatore Rincione and Samantha Rincione are

   principals and executive officers of Crave Franchising, and directly/indirectly

   controlled Crave Franchising, all Defendants are jointly and severally liable

   pursuant to the Michigan Franchise Investment Law, at MCL 445.1501 et seq.

149. Pursuant to the explicit language of this statute, certain acts are prohibited by

   franchisors/persons with regard to the offering of any franchise as stated in MCL

   445.1505, which states:

             445.1505    Prohibited conduct in connection with offer, sale,
                    or purchase of franchise.

             Sec. 5. A person shall not, in connection with the filing, offer,
             sale, or purchase of any franchise, directly or indirectly:

                   (a) Employ any device, scheme, or artifice to defraud;

                   (b) Make any untrue statement of a material fact or omit to
                       state a material fact necessary in order to make the



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                     statements made, in the light of the circumstances
                     under which they are made, not misleading.

                  (c) Engage in any act, practice, or course of business which
                      operates or would operate as a fraud or deceit upon any
                      person.

150. As outline above, Defendants made various material misrepresentations,

  failed to make various required-disclosures, and made several misleading

  statements in violation of MCL 455.1505, including but not limited to,

  representations relating to the initial total investment amount, representations

  relating to the timeframe needed to open the restaurant, representations relating

  to the costs of leasehold improvements, representations relating to the loan

  amount needed to fund the investment, representations relating to whether there

  is any required general contractor, representations regarding Defendants’

  relationship with Provost Construction, and representations relating to the

  number of former franchisees.

151. Furthermore, in its Franchise Agreement, Defendants utilized various

  provisions to prohibit current and former franchisees from disclosing

  Defendants’ wrongdoings, as outlined above.

152. Additionally, pursuant to MCL § 445.1508(2)(f), a franchisor’s disclosure

  statement must contain:

           A statement as to whether, by the terms of the franchise
           agreement or by other device or practice, the franchisee or
           subfranchisor is required to purchase from the franchisor or

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             the franchisor's designee services, supplies, products, fixtures,
             or other goods relating to the establishment or operation of the
             franchise business, together with a description, and the terms
             and conditions thereof.

153. In violation of MCL § 445.1508(2)(f), Defendants also failed to state the fact

   that Provost was the required general contractor in the Franchise Disclosure

   Statement, nor did it state the terms and conditions thereof.

154. As a direct and proximate result of the Defendants’ breaches of Michigan’s

   Franchise Investment Law, Plaintiff has been damaged in a substantial and

   material respect.

155. As it relates to damages under Michigan’s Franchise Investor Law, MCL §

   445.1531(1) provides that:

             A person who offers or sells a franchise in violation of section
             5 or 8 is liable to the person purchasing the franchise for
             damages or rescission, with interest at 6% per year from the date
             of purchase until June 20, 1984 and 12% per year thereafter
             and reasonable attorney fees and court costs.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment against Defendants, rescinding the Franchise Agreement, for

damages in an amount greater than $75,000.00 plus 12% interest from the date of

the entering of the Franchise Agreement, plus all costs and attorney fees so

wrongfully incurred in having to bring this lawsuit.

 COUNT V –– VIOLATION OF THE FEDERAL TRADE COMMISSION’
            FRANCHISE RULE (16 C.F.R. § 436.1 et seq.)



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156. Plaintiff hereby re-alleges and incorporates all previous paragraphs of this

   Complaint as if fully restated herein.

157. Plaintiff is a “franchisee” within the meaning of 16 C.F.R. § 436(1)(i)

158. Defendant Crave Franchising is a “franchisor” within the meaning of 16

   C.F.R. § 436(1)(k).

159. Pursuant to 16 C.F.R. § 436.5(g) (“Subpart C”), in their franchise disclosure

   statement, franchisors must:

            (g) disclose, in the following tabular form, the franchisee’s estimated
            initial investment.

160. As outlined above, Defendants failed to disclose an accurate initial

   investment, as the total actual investment, turned out to be almost triple the

   amount initially estimated, in violation of 16 C.F.R. § 436.5(g).

161. Pursuant to 16 C.F.R. § 436.5(h) (“Subpart C”), in their franchise disclosure

   statement, franchisors must:

             (h) Disclose the franchisee's obligations to purchase or lease
             goods, services, supplies, fixtures, equipment, inventory,
             computer hardware and software, real estate, or comparable
             items related to establishing or operating the franchised business
             either from the franchisor, its designee, or suppliers
             approved by the franchisor, or under the franchisor's
             specifications. Include obligations to purchase imposed by the
             franchisor's written agreement or by the franchisor's practice.
             For each applicable obligation, state:

                   (1) The good or service required to be purchased or leased




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                   (2) Whether the franchisor or its affiliates are approved
                   suppliers or the only approved suppliers of that good or
                   service.

                   (3) Any supplier in which an officer of the franchisor owns
                   an interest.

                   (6) Whether the franchisor or its affiliates will or may
                   derive revenue or other material consideration from
                   required purchases or leases by franchisees. If so, describe
                   the precise basis by which the franchisor or its affiliates
                   will or may derive that consideration by stating:

                          (i) The franchisor's total revenue.
                          (ii) The franchisor's revenues from all required
                          purchases and leases of products and services.
                          (iii) The percentage of the franchisor's total
                          revenues that are from required purchases or leases.
                          (iv) If the franchisor's affiliates also sell or lease
                          products or services to franchisees, the affiliates'
                          revenues from those sales or leases.

                   (8) If a designated supplier will make payments to the
                   franchisor from franchisee purchases, disclose the basis
                   for the payment (for example, specify a percentage or a
                   flat amount). For purposes of this disclosure, a “payment”
                   includes the sale of similar goods or services to the
                   franchisor at a lower price than to franchisees.

                   (9) The existence          of   purchasing   or   distribution
                   cooperatives.

162. As outlined above, Defendants failed to disclose that Plaintiff was required to

   utilize Provost Construction as the general contractor for construction of the

   restaurant, in violation of 16 C.F.R. § 436.5(h).




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163. Furthermore, Defendants failed to disclose any terms and conditions relating

   to the relationship between Provost Construction and Defendants, in violation of

   16 C.F.R. § 436.5(h).

164. Pursuant to 16 C.F.R. § 436.5(t) (Subpart C), in their franchise disclosure

   statement, franchisors also must also:

            (2) Disclose, in the following tabular form, the number of
            franchised and company-owned outlets and changes in the
            number and ownership of outlets located in each state during
            each of the last three fiscal years. Except as noted, each change
            in ownership shall be reported only once in the following
            tables. If multiple events occurred in the process of transferring
            ownership of an outlet, report the event that occurred last in time.
            If a single outlet changed ownership two or more times
            during the same fiscal year, use footnotes to describe the
            types of changes involved and the order in which the changes
            occurred.

                (i)    Disclose, in the following tabular form, the total
                       number of franchised outlets transferred in each
                       state during each of the franchisor's last three fiscal
                       years. For purposes of this section, “transfer” means
                       the acquisition of a controlling interest in a franchised
                       outlet, during its term, by a person other than the
                       franchisor or an affiliate.

                (ii)   Disclose in the following tabular form, the status of
                       franchisee-owned outlets located in each state for each
                       of the franchisor's last three fiscal years:

                           (A) In column 1, list each state with one or more
                           franchised outlets.
                           (B) In column 2, state the last three fiscal years.
                           (C) In column 3, state the total number of franchised
                           outlets in each state at the start of each fiscal year.



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                       (D) In column 4, state the total number of
                       franchised outlets opened in each state during each
                       fiscal year. Include both new outlets and existing
                       company-owned outlets that a franchisee purchased
                       from the franchisor. (Also report the number of
                       existing company-owned outlets that are sold to a
                       franchisee in Column 7 of Table 4).
                       (E) In column 5, state the total number of franchised
                       outlets that were terminated in each state during
                       each fiscal year. For purposes of this section,
                       “termination” means the franchisor's termination of
                       a franchise agreement prior to the end of its term
                       and without providing any consideration to the
                       franchisee (whether by payment or forgiveness or
                       assumption of debt).
                       (F) In column 6, state the total number of non-
                       renewals in each state during each fiscal year. For
                       purposes of this section, “non-renewal” occurs
                       when the franchise agreement for a franchised
                       outlet is not renewed at the end of its term.
                       (G) In column 7, state the total number of
                       franchised outlets reacquired by the franchisor in
                       each state during each fiscal year. For purposes of
                       this section, a “reacquisition” means the franchisor's
                       acquisition for consideration (whether by payment
                       or forgiveness or assumption of debt) of a
                       franchised outlet during its term. (Also report
                       franchised outlets reacquired by the franchisor in
                       column 5 of Table 4).
                       (H) In column 8, state the total number of outlets in
                       each state not operating as one of the franchisor's
                       outlets at the end of each fiscal year for reasons
                       other than termination, non-renewal, or
                       reacquisition by the franchisor.
                       (I) In column 9, state the total number of franchised
                       outlets in each state at the end of the fiscal year.




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165. As outlined above, Defendants failed to state the accurate status of various

   current and former franchisees, in accordance with the requirements laid out

   under 16 C.F.R. § 436.5(t)(2)(i) and 16 C.F.R. § 436.5(t)(2)(ii)(A – I).

166. Upon information and belief, there are various Crave restaurants that were

   transferred, terminated, or reacquired, that Defendants did not accurately

   disclose.

167. Pursuant to 16 C.F.R. § 436.6(a), it is:

               (a) is an unfair or deceptive act or practice in violation of Section
                   5 of the FTC Act for any franchisor to fail to include the
                   information and follow the instructions for preparing
                   disclosure documents set forth in subpart C (basic disclosure
                   requirements)

168. Defendants engaged in unfair and deceptive acts, as they failed to make many

   required disclosures under Section 5 of the FTC Act and failed to follow all the

   instructions regarding the same pursuant to section 5 of the FTC Act, as outlined

   above.

169. Moreover, pursuant to 16 C.F.R. § 436.9, it is an unfair or deceptive act or

   practice in violation of Section 5 of the Federal Trade Commission Act for any

   franchise seller covered by part 436 to:

               (a) Make any claim or representation, orally, visually, or in
                   writing, that contradicts the information required to be
                   disclosed by this part.

               (b) Misrepresent that any person:



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                    (1) Purchased a franchise from the franchisor or operated
                    a franchise of the type offered by the franchisor.


2. As outlined above, made various claims and representations that contradicted

   information contained in the Franchise Disclosure Documents, including but not

   limited to, its representation that Provost Construction was a required general

   contractor, in violation of 16 C.F.R. § 436.9(a).

3. As outlined above, Defendants also misrepresented, among other things, that

   Mona Jones purchased a franchise from Defendants when she did not, and the

   number of franchisors that acquired their franchise from the Defendants or from

   a former franchisee, in violation of 16 C.F.R. § 436.9(b)(1)

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendants, rescinding the Franchise Agreement, for damages in

an amount greater than $75,000.00 plus 12% interest from the date of the entering

of the Franchise Agreement, plus all costs and attorney fees so wrongfully incurred

in having to bring this lawsuit.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectful requests that this Honorable Court grant

the following relief:

         a) Compensatory damages in amount to be determined at trial, but in
            excess of $75,000;

         b) Punitive and/or exemplary damages in amount to be determined at trial;

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       c) Pre-Judgment and Post-Judgement interest to the extent permitted by
          law and MCL § 445.1531(1);

       d) Cost of reasonable attorneys’ fees and court costs to the extent permitted
          by law and MCL § 445.1531(1);

       e) Recission of the Franchise Agreement;

       f) An Order requiring Defendants to assume Plaintiff’s lease with HSQ,
          LLC, and releasing all of Plaintiff’s duties and obligation with respect
          to said lease;

       g) An Order requiring Defendants to pay all outstanding rent payments
          owed to HSQ, LLC due under Plaintiff’s lease with HSQ, LLC;

       h) An Order requiring Defendants to pay off the remaining balance of
          Plaintiff’s two SBA loans, including but not limited to, the interest on
          said SBA loans, and any pre-payment penalty charged;

       i) An Order requiring Defendants to pay off the remaining balance of Brad
          Fuchs’s personal loan of $25,000 and Darrell Old’s personal loan of
          $75,000, including but not limited to, the interest on said personal loans,
          and any pre-payment penalty charged; and

       j) An Order requiring Defendants to pay all costs incurred as a result of
          entering into the Franchise Agreement;

       k) Any other relief this Court deems just and appropriate.

                                             Respectfully Submitted:

                                             HAMMOUD, DAKHLALLAH &
                                             ASSOCIATES, PLLC

                                             /s/ Kassem M. Dakhlallah
                                             Kassem M. Dakhlallah (P70842)
                                             6050 Greenfield Rd., Ste. 201
                                             Dearborn, MI 48126
                                             (313) 551-3038

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                                               kd@hdalawgroup.com
Dated: January 5, 2024                         Attorney for Plaintiff


                                 JURY DEMAND

      Plaintiff hereby demand a trial by jury of all triable issues, pursuant to Fed R.

Civ. P. 38(b) and Fed R. Civ. P. 38(c)


                                               Respectfully Submitted:

                                               HAMMOUD, DAKHLALLAH &
                                               ASSOCIATES, PLLC

                                               /s/ Kassem M. Dakhlallah
                                               Kassem M. Dakhlallah (P70842)
                                               6050 Greenfield Rd., Ste. 201
                                               Dearborn, MI 48126
                                               (313) 551-3038
                                               kd@hdalawgroup.com
Dated: January 5, 2024                         Attorney for Plaintiff




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